 

Case 2:21-cv-12830-LJM-DRG ECF No. 1, PagelD.1 Filed 12/03/21 Page 1 of 12

MIED ProSe I (Rev 5/16) Complaint for a Civil Case

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

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(Write the full name of each plaintiff who is filing this complaint.
ff the names of all the plaintiffs cannot fit in the space above,
please write ‘see attached” in the space and attach an additional
page with the full list of names.)

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(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

Case: 2:21-cv-12830

Judge: Michelson, Laurie J.

MJ: Grand, David R.

Filed: 12-03-2021

CMP HUNTER vs. DISTRICT OF ASIA, et al (tt)

(to he filled in by the Clerk’s Office)

Jury Trial: b. Ct No

(check one)

Complaint for a Civil Case

 

 
Case 2:21-cv-12830-LJM-DRG ECF No. 1, PagelD.2 Filed 12/03/21 Page 2 of 12

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

I. The Parties to This Complaint
A. The Plaintiff(s)

additional pages if needed

Provide the information below for each plaintiff (Ae in the complaint. Attach
a E Treasure (; ait

Name

Street Address
City and County
State and Zip Code

Telephone Number

E-mail Address

B. The Defendant(s)

   

        

    
   

 

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Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
For an individual defendant, include the person’s job or title Gf known). Attach

additional pages 1f needed.
Defendant No. 1

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Defendant No. ?

Name

Job or Title
(if known)

Street Address
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(if known)

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Case 2:21-cv-12830-LJM-DRG ECF No. 1, PagelD.3 Filed 12/03/21 Page 3 of 12

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

II.

Defendant No. 3
Name bt i

 

 

 

 

 

 

Job or Title hin i. ¥V ES id i om

(if known) <_S ft tS Mi

Street Address O J fy lovp Bape &
City and County \ Zz

State and Zip Code OWS | VP Dy
Telephone Number

E-mail Address

(if known)

Defendant No. 4
Name
Job or Title 1 1
(if known) . () / ( He
Street Address oy Id
City and County
State and Zip Code

Telephone Number

E-mail Address
(if known)

 

 

 

 

 

 

 

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.

§ 1332, a case in which a citizen of one State sues a citizen of another State or nation and the
amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

[] Federal question CL] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

 

 
 

Case 2:21-cv-12830-LJM-DRG ECF No. 1, PagelD.4 Filed 12/03/21 Page 4 of 12

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

A.

If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

‘1 r@Uo

If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name)

 

is a citizen of the State of (name)

 

b. If the plaintiff is a corporation
The plaintiff, (name) :
is incorporated under the laws of the State of (name)

, and has its principal place of business in the

 

State of (name)

 

(if more than one plaintiff is named in the complaint, attach an additional page
providing the same information for each additional plaintiff.)

2. The Defendant(s)

 

 

 

 

a. If the defendant is an individual
The defendant, (name) , is acitizen of the
State of (name) . Or isacitizen of (foreign
nation)

b. If the defendant is a corporation
The defendant, (name) , 1S incorporated
under the laws of the State of (name) , and

 

has its principal place of business in the State of (name)
. Or is incorporated under the laws of

 

(foreign nation) , and has its principal place

 

of business in (name)

 

(if more than one defendant is named in the complaint, attach an additional
page providing the same information for each additional defendant.)

 

 
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MIED ProSe | (Rev 3/16) Complaint for a Civil Case
3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes
or the amount at stake —is more than $75,000, not counting interest and costs of
court, because (explain):

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III. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

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MIED ProSe | (Rev 3/16} Complaint for a Civil Case

IV.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actual damages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
the amounts, and the reasons you claim you are entitled to actual or punitive money damages.

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the compiaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: () [2 ef

Signature of Plaintiff al) _ + KRAUS
Printed Name of Plaintiff CAC Ooo ay
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Case 2:21-cv-12830-LJM-DRG ECF No. 1, PagelD.7 Filed 12/03/21 Page 7 of 12

MIfD ProSe 1 (Rev 5/16) Complaint for a Civil Case

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and copy - Defense

Case 2:21-cv-12830-LJM-DRG
Approved, SCAO ;

 

 

 

 

 

STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT ORDER FOR EVACHATION | 07-019947-FE
JUDICIAL CIRCUIT
CRIMINAL RESPONSIBILITY Judge Fullerton
OR! Court address Court telephone no.

(B10)? 257-3220

MI- 900 30UTH SAGINAW STREET, FLINT, MICHIGAN 48502-1526

   
 

   
     
    
    
 

 

Defendant's name, address, and telephone fo

Carl Hunter
401 W. Bishop
Flint, MI 48505

&xThe State of Michigan
THE PEOPLE OF

__

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHARGE CODE(S)
Count CRIME MCL citation/PACC Code
1 Assault with inteent to murder e003
2 weapons--possession by a felon
3 weapons---felonly firearm | 750.,227b
Date of heanng: Judge:
Sige Atl Oe roe toa ut = Bar no
Based upon the filing of a orien Fete, Cf 1717s ee Me? fH! V - & _
“Tl we ut . >
4. The defendant shall undergo an examination, relating to his or het claim of insanity, by. person efot. ee
KK the Center for Forensic Psychiatry. =“ FM
(the 3rd Circuit Court Clinic. = re
) other: (ay = OD oer

=) Cc Lad .
A written report meeting the statutory requirements shall be submitted to this court within 60‘days from the date of this orcer
with copies submitted to the prosecuting official and defense attomey, whose names and adgfessaare:

 

  
  
 
 

    

 

 

Defendant attomey’s name. address, bar no., and telaphone no.
BRUCE E. POLL P-12844
ATTORNEY AT LAW
3312 S. Center Road
Burton, MI 48519

810-742-5030

Prosecuting official's name, address, barno., and telephone no.

   
    
     

Tamara J. Phillips (p-56505)
Assistant prosecuting Attorney
900 S$. Saginaw St.
Flint, MI 48502

     
        

 

 

2. If the defendant is on bond, s/he shall appear for examination at the places and times established by the examining facility
if the defendant, after being notified, fails to appear for examination, the court may order detention for examination without
hearing. This detention shall end upon completion of the examnination.

3. If the defendant is under detention, the facility may perform the examination in jail or may notify the sheriff to transport the
defendantto the facility for examination, and the sheriff shall return the defendant to the jail upon completion of the examination.

4. The prosecuting official shall immediately provide police investigation reports and criminal history to the facility.
5. Defendant shall cooperate fully and provide access to medical and psychiatric history.

6. Additional orders:

 

 

 

G.2a})

Dale Judge Cf,
: udith A. Fullerton, Circuit Judge
wc 206 (12/97) ORDER FOR EVALUATION RELATIVE TO CRIMINAL RESPONSIBILITY MCL 330.2050. MSA +4.800(1050)
 

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4-138-B, 02/03/2014, elg SME A, d.

AS A CONVICTED FELON, THIS [S A FORMAL NOTICE THAT
YOU ARE SUBJECT TO THE FOLLOWING FEDERAL
FIREARMS STATUTES AND MICHIGAN PAROLE CONDITION:

USING, CARRYING OR POSSESSING A FIREARM OR AMMUNITION
[18 USC 922(g) AND 18 USC 924 (e)]

If you use, brandish, display, carry or otherwise possess a firearm, you are in violation of
this federal statute, which is punishable by a minimum of 5 years (and up to 10 years)
imprisonment without parole. Convicted felons with 3 or more prior convictions for a felony
crime of violence and/or drug trafficking felony may receive a minimum sentence of 15

years without parole.

USING, CARRYING OR POSSESSING A FIREARM IN CONNECTION WITH A
DRUG TRAFFICKING CRIME OR CRIME OF VIOLENCE [18 USC 924(c)]

If you are convicted of having a firearm during a drug trafficking crime or during a crime of
violence, then in addition to a sentence for the drug trafficking or violent crime, you will also
be subject to an additionai federal sentence cf 5 years (no prrale) to life imprisonment. If
you are convicted for having a gun during a second violent crite or drug trafficking offense,
penatty is a minimum 25 years.

If you violate your parole granted by the Parole and Commutation Board, by owning or
possessing a firearm or imitation of a firearm, or are in the company of anyone you know
to possess these items, without prior permission from your agent, your parole will be
revoked and you will serve an additional 60 months in prison for the violation.

Certification of Notice: | have read or have been read the above notice of these Federai
Statutes and Michigan Parole Condition, and have received a copy of this form.

Michigan Department of Corrections REV. aot
PRISONER PRE-RELEASE NOTICE 4835-3290

 

 

 

 

 

HUNTER, CARL 7 229916
Prisoner Printed Name Priscner Number
Prisoner Signature ; Date :

 

 

Witness Printed Name Date

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W544 (Rev 1020)

‘The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fling and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form. approved by the Judicial Conference of the United States in September 1974. is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SHH INSTRUCTIONS ON NEAT PAGH GP THIS FORAL)

T "ony tl a © Sy a DEFENDANTS ace ies

County of me “pk First Listed Defendant

 

 

 

 

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LL. 4 : ar Case: 2:21-cv-12830
{ce} Attorneys (firm Name, Address, and Tele Fie Mune) if] 4 2024 ] || é Judge: Michelson, Laurie J.
po Ghee ewes MJ: Grand, David R.
yo Filed: 12-03-2021
Wa DIS se ae CMP HUNTER vs. DISTRICT OF ASIA, et al (tt)
II. BASIS OF JURISDICTION (iace an Fal Pn Abe Onhy'~ 7 TH. CIT TZbkivseas We gw PAL PAN BABS place an “N" in One Box for Plaintiff
(For Diversity Caxes Onde and One Box for Defendany
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Plaintitf (U8. Government Nat a Party) Citizen of This State (] t Incorporated or Principal Place Ol 4 O13
of Business In This State
2 US. Goverament (]4 Diversity Citizen of Another State []2 (2) 2 mncoporated and Principal Place §=[[] 5 [5
Defendant Cdtcate CitizensAip of Parties in Hen (ii of Business In Another State
Citizen or Subject of a Oo 3 Co 2 Foreign Nation C 6 Cle
Foreten Country
IV. NATURE OF SUUT ¢piace ano" a1 One Box Qnty Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine -| 310 Airplane [_] 363 Personal injury - of Property 21 USC 881 493 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 35 Airplane Product Product Liability Tj 690 Other 28 USC 157 le 3729(a))
140 Negotiable Instrument Liability C 367 Health Care 400 State Reapportionment
150 Recovery of Overpayntent B20 Assault. Libel & Phamaceutical 419 Antitrust
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(Excludes Veterans} 345 Marine Product Liability |] $40 Trademark Corrupt Organizations
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of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 1710 Fair Labor Standards Act of 2086 C15 USC 1681 or 1692}
| 160 Stockholders” Suits 355 Motor Vehicle 7) Truth in Lending Act a 485 Telephone Consumer
190 Other Contract Product Liability 386 Other Personal 7] 720 Labor/Management Protection Act
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367 Personal Injury - Product Liability 731 Family and Medical 863 DIWC/DIWW (405{2)) Exchange
Medical Malpractice Leave Act 864 SSID Tithe XVE a 890 Other Statutory Actions
(REAL PROPERTY _—i TVIL RIG PRISONER PETITIONS |_| 790 Other Labor Litigation 865 RSI (405(g)) [| 891 Agricultural Acts
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230 Foreclosure 441 Voting 463 Alien Detainee Income Security Act ' 895 Freedom of Information
230 Rent Lease & Fyectmeat 442 Employment 310 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 449 Housing’ Sentence or Defendant} 896 Arbitration
248 Tort Product Liability Accommodations $30 General T 871 [IRS -Third Party H| 899 Administrative Procedure
[] 290 All Other Real Property J 445 Amer. w/Disabilities -[T | $35 Death Penalty | IMMIGRATION | 26 USC 7609 Act/Review or Appeal of
Employ ment Other: 462 Naturahzation Application Agency Decision
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VI. CAUSE OF ACTION ——————: —
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VII. RELATED CASE(S)
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FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 
